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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

GARY BRICE MCBAY                                                                     PLAINTIFF

V.                                                CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI, ET AL.                                             DEFENDANTS

             DEFENDANT MORGAN THOMPSON’S MOTIONS IN LIMINE

       COMES now Defendant Thompson, by and through his undersigned counsel, and

submits this, his motions in limine, and respectfully requests that the Court exclude the following

evidence that Thomson anticipates Plaintiff will introduce at trial, to wit:

       1.      Thompson’s arguments and authorities in support of the instant motion are set

               forth more fully in the accompanying memorandum of authorities in support of

               motions in limine.

       2.      In support of the instant motion, Thompson submits the following exhibits, to wit:

               A.      Exhibit “1" - Excerpts taken from Regina Rhodes’ deposition transcript;

               B.      Exhibit “2" - Written Notes Allegedly Made by Regina Rhodes at the

                       Harrison County Adult Detention Center;

               C.      Exhibit “3" - Various Newspaper Articles and Internet Articles

               D.      Exhibit “4" - Booking Photographs of Other Inmate

               E.      Exhibit “5" - Booking Photographs of Plaintiff

       WHEREFORE, premises considered, Defendant Thompson requests that the above

motions in limine be well taken and sustained.




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       RESPECTFULLY SUBMITTED, this the 1st day of April, 2010.


                                           MORGAN THOMPSON,
                                           Defendant

                                           BY:    /s IAN A. BRENDEL
                                                  JAMES L. DAVIS, III
                                                  IAN A. BRENDEL
                                                  Attorneys for Morgan Thompson

                               CERTIFICATE OF SERVICE

       I, IAN A. BRENDEL, attorney at law, do hereby certify that the undersigned counsel of

record has been notified via ECF:

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      THIS the 1st day of April , 2010.

                                                   BY: /s IAN A. BRENDEL
                                                   IAN A. BRENDEL

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